/`/:l/r'\
Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 1 of 15 Pa`ge§l[_) 28
1(:»?.. ‘

`_/

/, `
*~ <.\»»-¢' /

lN THE uNITED sTArEs DISTRICT COURT t _ __ __
FoR THE WESTERN DISTRICT oF TENNESSEE ~ _- ,_

 

 

EASTERN DIVISION

SHARON D. HAYS, and
husband MIKE HAYS,

Plaintiffs,
Vs. CIVIL ACTION NO. 1-03-1268-T
THE GOODYEAR TIRE & TRIAL DATE: June 13, 2005
RUBBER COMPANY,

Defendant.

 

JOINT PRETRIAL ()RDER

 

Cornes now the Plaintiff, Sharon D. Hays and the Defendant, The Goodyear Tire &

Rubber Cornpany, and submit this as their Joint Pretrial Order.
REMAINING JURISDICTIONAL OUESTIONS
The parties agree that no jurisdictional questions remain.
PENDING MOTIONS AND PROPER RULINGS THEREON

The following motions Will be filed with this Pretrial Order and will be pending:

(i) Defendant's Motion in Limine to Exclude 'l`estiniony of Robert W. Kennon, Ph.D.

Plaintiff contends this motion is Without merit and goes only at most, if at all, to the
Weight of Dr. Kennon’S testimony.

(ii) Defendant's Motion in Limine to Exclude Evidence of Plaintit`t's Worker's
Compensation Trial and/or award.

(iii) Defendant's Motions in Limine to Prohibit Testimony from Physical Therapist and

This document entered on the docket sheet n co liag_ca ,
with Hute 58 and,'or_?g (a) FRCP on / 0 5 3 7

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 2 of 15 Page|D 29

Medical Diagnosis and Physical lmpairment Rating Discussed in Deposition of Dr. James
Calandruccio.

(iv) Plaintiffs Motion to Arnend Complaint.

CONTENTIONS OF THE PARTIES

A. Plaintiff's Contentions

On or about October l4, 2002, the Plaintiff Sharon D. Hays, a forty-two (42) year old
vending service employee of Sodexho was operating her vending service cart (an industrial style
golf cart with a steel mesh cage mounted on the back for carrying large quantities of food and
drinks to the various vending areas throughout the huge Goodyear Tire & Rubber Plant). Sharon
Hays was proceeding at a safe and reasonable speed on the middle right side of a long aisle
toward one of the Goodyear break rooms to perform her vending responsibilities for her
employer, Sodexho. As Sharon Hays was proceeding with the right-of-way on the larger aisle, a
Goodyear employee operating a fast and heavy tow motor pulling a large heavy trailer used for
hauling uncured tires suddenly pulled from the small cross aisle without any warning whatsoever.
The Goodyear vehicle pulled without warning from Sharon Hays’ left into and across the middle
of the aisle in which she had the right-of-way, and the trailer being pulled by the tow motor
swung directly in front of Sharon Hays resulting in a collision due to the excessive and
unreasonable speed of the Goodyear vehicle, failure of the Goodyear vehicle operator to see and
observe Sharon Hays and make a proper turn to avoid injuring her, and failure to sound the
vehicle horn or give any warning that the heavy, fast, Goodyear vehicle was making a turn onto
the through aisle from a cross aisle. The force of the collision resulted in an injury to Sharon

Hays’ wrists as she braced for the collision which was of sufficient force to throw her from the

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 3 of 15 Page|D 30

seat up toward the steering wheel injuring her hip and ankle Proper reports of the injury were
filed. When the injury to her hands continued to get worse, she was seen by board certified
physicians at the 'l_`ennessee Orthopaedic Alliance. MRl’s were performed on both wrists. On
January 28, 2003, Dr. Dave Alexander of the 'l`ennessee Ortliopaedic Alliance recommended
surgery for the left wrist due to the amount of pain and disability that Sharon Hays had. Sharon
Hays desired a second opinion. She came under the care of Dr. J ames Calandruccio_, a board
certified orthopaedic surgeon with a specia]ity in hand surgery at the Campbell Clinic in
l\/lemphis, Tennessee who performed surgery on June 16, 2003. Following surgery and
aggressive physical tlierapy, Dr. Calandruccio released Sliaron Hays with permanent restrictions
as a result of the injury and necessary surgery that totally precluded her from returning to her
work. Dr. Calandruccio indicates that Sharon Hays has a 20% whole person impairment as a
result of the injuries to the left and right wrists, and indicated that she could also be rated and
evaluated for Reflex Sympathetic Dystrophy. Sharon Hays was seen by Dr. Joseph C. Boals, lll,
a board certified orthopaedic surgeon and independent medical evaluator who also feels that her
work capacity would be somewhat less than sedentary. Tlie Defendant Goodyear 'l`ire & Rubber
Company had Sharon Hays evaluated by Dr. Sam Meredith who felt she had a 25% whole person
impairment as a result of the injuries to both wrists and her ongoing pain management and
problems due to the ongoing Reflex Synipathetic Dystropliy which resulted from the injury in
this case. Dr. Meredith also notes that Sharon Hays’ Ret]ex Sympathetic Dystropliy from this
injury is toward the more severe end of the spectrum which results in permanent difficulties,
chronic pain, loss of bone strength, and loss ofmobility in the joints. Tlie restrictions assigned

by the physicians in this case totally precluded Sharon Hays from performing the physical

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 4 of 15 Page|D 31

requirements of her work at Sodexho and most, if not all, other employments

Sharon Hays contends that the Defendant Goodyear Tire & Rubber Company, by and
through its agents and employees, including the operator of the Goodyear vehicle and trailer
which caused the collision, was negligent in acting, or failing to act in numerous respects,
including the following:

(i) Traveling at an excessive and dangerous rate of speed under the existing
circumstances;

(ii) Failing to keep a proper lookout ahead;

(iii) Failing to give adequate warning of the vehicle's approach to the aisle;

(iv) Failing to install adequate warning devices such that individuals would be alerted
to watch for oncoming material handling vehicles;

(v) F ailing to safely construct and maintain its aisles and the area surrounding the
aisles;

(vi) Failing to adequately inspect and be aware of visual obstructions in the access
aisle which would limit safe and adequate sight distances of aisle occupants and others properly
upon the passageway;

(vii) F ailing to actively and adequately identify sight distance hazards and remove sight
distance hazards when The Goodyear 'I`ire & Rubber Company knew by the exercise of
reasonable care that such failure could result in serious accidents and injuries;

(viii) Negligently and carelessly allowing conditions to exist that made the area both
hazardous and extra- hazardous for aisle occupants; and

(ix) Failing to design and implement reasonable training and operation protocol that

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 5 of 15 Page|D 32

would facilitate the safe and reasonable operation of material handling equipment within the
facility areas.

Further, Goodyear Tire & Rubber Company is guilty of negligence per se in the violation
of certain Occupatioiial Safety & Health Act (OSHA) statutes which were in full force and effect
pursuant to 29 CFR §1910.178. The violation of these statutes is negligence per se and is the
direct and proximate cause of the collision and resulting injuries to Sharon Hays. Further,
Defendant Goodyear Tire & Rubber Company violated certain Occupational Safety & Health Act
provisions of the U. S. Department of Labor set forth in 29 CFR §1910.178, and in violation of
these provisions which were in full force and effect on the date of the incident which is the
subject of this Complaint is negligence per Se and is the direct and proximate cause of the
collision and resulting injuries to Sharon Hays:

(i) 1910.178§n1g l 1. All traffic regulations shall be observed, including authorized
plant speed limits. A safe distance shall be maintained approximately three truck lengths from the
truck ahead, and the truck shall be kept under control at all times.

(ii) 1910.178§n)!41. The driver shall be required to slow down and sound the horn at
cross aisles and other locations where vision is obstructed lf the load being carried obstructs
forward view, the driver shall be required to travel with the load trailing.

{iii) 191 0.178§n!§ 61. The driver shall be required to look in the direction of, and keep
a clear view ofthe path of travel.

(iv) 1910_178§n){ 8 1. Under all travel conditions the truck shall be operated at a speed
that will permit it to be brought to a stop in a safe manner.

(v) 1910.178§n){ 101. The driver shall be required to slow down for wet and slippery

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 6 of 15 Page|D 33

floors.

(vi) 1910.178§n)§ 151. Wliile negotiating turns, speed shall be reduced to a safe level
by means of turning the hand steering wheel in a smooth, sweeping motion. Except when
maneuvering at a very low speed, the hand steering wheel shall be turned at a moderate, even
rate.

As a direct and proximate result of the negligence of Goodyear 'l`ire & Rubber Company,
Sharon Hays sustained the following damages:

(i) Serious, permanent and disabling injuries

(ii) Medical expenses, both past and future.

(iii) Lost wages in the past and lost eaming capacity in the future.

(iv) Loss of earning capacity in the future.

(v) Physical pain, from the date of injury to the date of trial and from the date of trial
future into the future.

(vi) Physical and emotional suffering, from the date of injury to the date of trial and
from the date of trial into the future.

(vii) Iinpairmeiit and the loss of the ability to enjoy the normal pleasures of life from
the date of injury to the date of trial and from the date of trial into the future for the remainder of
the Plaintiff’ s lifetime.

'l`hat as of the date of trial, Sharon Hays is forty~five (45) years old and has a life
expectancy of40.20 years according to the 1983 lndividual Annuity Table (1971-1976)
contained in Table VI of Volume 13 of Tennessee Code Annotated.

lt is the Plaintiff’ s contention that she is guilty of no fault whatsoever She was

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 7 of 15 Page|D 34

proceeding at a safe and reasonable speed, maintaining a proper lookout and when presented with
a dangerous emergency created by the operation of the Goodyear tow motor and trailer, she
reacted as any normal person would under the circumstances Sharon Hays contends that if any
Goodyear employee admitted striking her vehicle and causing the collision in this case that the
Goodyear employee would be subject to discipline, up to and, including discharge Sharon Hays
further contends that due to the condition of Goodyear vehicles and the Sodexho service cart that
it would be difficult, if not impossible, for anyone to determine whether or not there was
additional damage from the collision on October 14, 2002.

B. Defendant's Contentions

Defendant contends Plaintiff reported the accident to her employer Sodexho, by reporting
the incident to her superior l\/lr. Carl Watkins. Defendant contends Mr. Carl Watkins conducted
an investigation and could find no damage to their vehicle No damage was ever found on any
Goodyear vehicle. Plaintiff Sharon Hays was never able to identify the individual that allegedly
worked for Goodyear and who allegedly came into contact with her vehicle Goodyear contends
that Plaintiff can not carry her burden of proof as to the accident and Goodyear further contends
that any injuries, damages and losses Plaintiff may have sustained, if any there be which is
denied, were the direct and proximate result of her own fault in failing to exercise reasonable and
ordinary care for her own safety. Defendant further contends OSHA statutes cited by Plaintiff, if
applicable, are equally applicable to her and bar her right of recovery, in that she violated those
OSHA standards set out by Plaintiff at pages 5 and 6, §u_pr_a.

Defendant contends that the vehicle driven by Sharon D. Hays was inspected by Carl

Watkins after she reported the alleged incident and he did not find any damage to said vehicle.

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 8 of 15 Page|D 35

Defendant contends that James Little checked The Goodyear vehicles and found no
damage and found no one who knew anything about the alleged event.

Defendant contends that Carl Watkins_, Plaintiff‘s supervisor as a result of her reporting
the alleged incident investigated and located no witnesses

Defendant contends that Carl Watkins could never identify a Goodyear vehicle involved

Defendant contends that Carl Watkins after Plaintiff reported the alleged incident
investigated and found no water or oil on the floor.

STATEMENT OF UNCONTESTED FACTS

l. On October 14, 2002, the Plaintiff Sharon D. Hays worked for Sodexho.

2. On October 14, 2002, the Plaintiff Sharon D. Hays while serving vending
machines at The Goodyear Tire & Rubber Company in Union City, Obion County, Tennessee
reported to her supervisor Carl Watkins that while "on snack truck - green tire truck pulled out in
front of her and tire truck slipped hitting Sharon truck".

3. That as of the day of trial Plaintiff Sharon D. Hays has been unable to identify the
other individual she contends was an employee of Goodyear and whom she contends she was
involved in an accident with at the Goodyear Plant.

4. The Goodyear Safety Representative, James Little, a/k!a "l\/louse" was present
when l\/ls. Hays reported alleged incident to her supervisor Carl Watkins.

CONTESTED ISSUES OF FAC'I`
A. Plaintiff's Contested Issues of F act
l. What are the nature and extent of Plaintiff Sharon D. Hays' injuries,

damages and losses?

Case 1:03-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 9 of 15 Page|D 36

B. Defendant'S Contested Issues of Fact

l. Did the accident occur‘?

2. ls Plaintiff at fault? lf so, what percent'?

3. ls Defendant at fault‘? lfso, what percent?

4. What are the natures' extent of Plaintiff‘s injuries, damages and losses, if

any there be‘?
CONTESTED ISSUES OF LAW
A. Plaintiff'S Contested Issues of Law
l. Was Defendant Goodyear Tire & Rubber Company negligent in the failiu'e
of its tow motor driver to maintain the proper lookout, failed to yield the right-of-way to Sharon
Hays who was on the through aisle, failure to see Sharon Hays who was there to be seen and
allow her to pass and then make a proper turn, failing to use a horn as required by OSHA
regulations and the Goodyear Tire & Rubber Company local rules, by operating at an excessive
and dangerous rate of speed under the existing circumstances‘?
2. Goodyear 'l` irc & Rubber Company failed to follow OSHA regulations set
forth in 29 CFR §1910.178_, et seq, including:
(i) §1910.178(n)(l) requiring observation of all traffic regulations,
including operating at a safe speed and keeping the vehicle under control at all times.
(ii) §1910. l78(n)(4) requiring the driver to slow down and sound the
horn at cross aisles and other locations where vision is obstructed.
(iii) §1910.178(n)(6) requiring drivers to look in the direction which

requires material handling and tow motor drivers to look in the direction of, and keep a clear

Case 1:O3-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 10 of 15 Page|D 37

view of the path of travel.

(iv) §1910.178(n)(8) requiring under a_ll travel conditions that truck be
operated at a speed that will permit it to be brought to a stop in a safe manner

(v) §1910.178(n)(] 0) requiring drivers to slow down for slippery
floors.

(vi) §l 910. l 78(n)(l 5) requiring mandatory reduction of speed to a safe
level when negotiating turns.

B. Defendant's Contested Issues ofLaw
l. Was Plaintiff Sharon Hays negligent in the failure to maintain proper
lookout, keep vehicle at a safe speed under the circumstances then and there existing, failing to
see the other vehicle, if any there be, failing to operate her vehicle under a_ll travel conditions at
Speed that will permit it to be brought to a stop in a safe manner.
2. Was Plaintiff Sharon Hays negligent in violating the following OSHA
regulations:

(i) §]910.]78(n)(l) requiring observation of all traffic regulations,
including operating at a safe speed and keeping the vehicle under control at all times.

(ii) §1910.178(n)(6) requiring drivers to look in the direction which
requires material handling and tow motor drivers to look in the direction of, and keep a clear
view of the path of travel.

(iii) §l 910.178(n)(8) requiring under _a_l_l travel conditions that truck he
operated at a speed that will permit it to be brought to a stop in a safe manner

3. ls Robert Kennon, Pli.D.'s testimony admissible‘?

10

Case 1:O3-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 11 of 15 Page|D 38

4. ls Plaintiff‘s workersr compensation trial and award adinissible'?
5. ls a medical diagnosis and physical impairment rating of physical therapist
adinissible?
LI.ST OF EXHIBITS

A. Plaintift‘s List of Exhibits

l. Plaintiff intends to use the exhibits to the depositions heretofore taken, the
medical records of the Plaintiff heretofore exchanged with counsel for the Defendant.

2, Pliotographs taken at The Goodyear Plant, video and/or manual of Goodyear for
training purposes

3. Exernplary drawing showing the general lay out of the primary through aisle and
the secondary intersecting aisle from which the Goodyear vehicle pulled without warning into the
path of the Plaintiff Sharon Hays.

4. 1983 lndividual Annuity Table (1971-1976) contained in Table Vl of Voluine 13
of Tennessee Code Annotated.

5. The Functional Capacity Evaluation (FCE) performed for the injuries received in
this case at Tracy Caulkins Pliysiotherapy Center at the request of Dr. Calandruccio on October

14_, 2003_, following surgery and completion of physical therapy.

6. Deposition and report of Dr. Robert Kennon, PhD, Psychologist and Vocational
Examiner.
7. The report of Dr. Parker Cashdollar, Economist.

B. Defendant's List of Exhibits

Defendant may introduce, except for impeachment

11

Case 1:O3-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 12 of 15 Page|D 39

l. Exhibits to the depositions heretofore taken.

2. The records submitted and relied upon by Defendant's vocational expert Brenda
Dailey.

3. Training materials, including video and printed material utilized by Goodyear for
driver training and maintenance material/recordsl

4. Various photographs and/or video.

5. Exhibits relied upon by Plaintiff

6. Report of Brenda Dailey.

LIST OF WITNESSES

A. Plaintiff's Witnesses

'l`he following is a list of witnesses who will be called to testify by the Plaintiff:

l. Sharon Hays

2. Dr. 1 ames Calandruccio

3. Dr. Joseph C. Boals, lII

4. Dr. Sam l\/leredith

5. Representatives of Sodexho’s workers’ compensation insurance carrier to prove
the amount of subrogation

"l`he following is a list of Witnesses who may be called to testify by the Plaintiff:

l . Betty Harris

Defendant objects to Betty Harris testifying as not properly identified

2. Carl Watkins

B. Defendant's Witnesses

12

Case 1:O3-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 13 of 15 Page|D 40

Defendant may call the following pertinent persons as witnesses at the trial either in
person or by deposition, to wit:

l. Lee Caulder

?.. James Little

3. l\/lichelle Mitchell

4. Bonnie l\/loss

5. Brenda Dailey

6. Dr. Sam Meredith

7. Dr. J ames Calandruccio

8. Dr. Philip Coogan

9. Dr. David Yakin

10. Dr. Claiborne Christian

l l. Dr. John Clendenin

12. l\/ledical Record Librarians for above physicians

]3. lacqueline Gilliam

14. Heather Quintoii

l 5. Bill Quinton

16. l\/lichelle Williams

17. Bruce Cook or his designee - maintenance

18. Carl Watkins

l 9. Bobby Harrison

13

Case 1:O3-cv-01268-.]DT-STA Document 39 Filed 06/10/05 Page 14 of 15 Page|D 41

DEP()SITI()N TESTIMONY

 

The physicians involved will testify by deposition.
ESTIMATED LENGTH OF TRIAL
The parties expect the trial to last no more than three days.
JURY VS. NON-JURY TRlAL

Ajury trial has been demanded

` /
iris so oRDERED this /(9 day oi‘June, 2005.

{:Yi/MA-QFM

.lAl\/l D. TODD
Unit States District Judge

,/d Y/m¢§%$'

Date

 

tr

bare H. ritale Esq. (6002)
Attorney for efendant

26 l\loith Second Street
Memphis, TN 38103

(901) 527-4673

(File: 03-545T)

/:c,-C»l lift ff‘if ix byb~l_

.leffrey A. Garrety, Esq.
Attorney for Plaintiffs
65 Stonebridge Blvd
.lackson, TN 38305
(_73]) 668-4878

.’\` \.DHT\ZOU]\OJ~S‘#S `l` Hays v t'_iooilyear\l’|eadings`\l’roposeil Joint l"relrial ()rder Rev c~*)-US.wpd

14

   

UNITE sTATEs DisrRiCT OURT - WESTRNE Dis'RiC'T or TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 1:03-CV-01268 was distributed by fax, mail, or direct printing on
.lune 10, 2005 to the parties listed

 

 

Hal W. Wilkins

LAW OFFICES OF HAL W. WILKINS
414 Union St.

Ste. 1900

Nashville, TN 37219--178

Dale H. Tuttle

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

l\/lemphis7 TN 38103

Joseph Taggart

LAW OFFICE OF JEFFREY A. GARRETY
65 Stonebridge Blvd.

Jackson, TN 38308--010

.leffrey A. Garrety

LAW OFFICE OF JEFFREY A. GARRETY
65 Stonebridge Blvd.

Jackson, TN 38308--010

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DlSTRlCT COURT

